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                                      5




                       EXHIBIT E
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7/12/23, 3:51 PM                       (178) Inbox5| ethanmoralaw@pm.me | Proton Mail
           "EXHIBIT E" - 1
  Response to the discovery conferral letter
  From     Carl Hjort <chjort@rwolaw.com>
  To       ethanmoralaw@pm.me

  Date     Friday, May 5th, 2023 at 3:36 PM



  Ethan,



  In response to the points in your letter of April 12, 2023, please note the following:



  Benedict Thompson



  Discovery Set #1 to Benedict Thompson

  Interrogatory #1: Supplemented in the attached.




  Interrogatory #2: Supplemented in the attached.



  Interrogatory #3: Benedict Thompson’s position is that his original answer to Interrogatory #3 is fully responsive and
  does not require supplementation. To the extent you now ask for communications between Benedict and Oliver
  Read, or information about alleged payments between them, those topics are outside the scope of what this
  interrogatory asks.



  Interrogatory #5: Benedict Thompson’s position is that his original answer to Interrogatory #5 is fully responsive and
  does not require supplementation. This interrogatory asks for facts that support Benedict Thompson’s contention
  that he did not contribute to any malware, and we have provided those facts. If you have certain documents that
  contradict that position, and I certainly disagree that the Python programming you have documented has any
  relevance to our factual claims about Benedict’s knowledge of the Java programming language, those are factual
  disputes between the parties. That is not an appropriate basis for a discovery dispute.



  Interrogatory #6: Supplemented in the attached.




  RFP #2: Supplemented in the attached.
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           "EXHIBIT E" - 2

  RFP #5: The documents you are requesting in your letter are far outside the scope of what this request calls for. As to
  documents related to Benedict Thompson’s Bitfinex account, this account has been locked by the Bitfinex, and
  Benedict cannot access any of the information that Bitfinex has about that account. As to your claim that Benedict or
  Edward Thompson’s tax records are responsive to this request, we do not agree. If you wanted those tax records, you
  certainly could have made a specific request for them. We do not think the tax records are relevant to the general
  question you ask in this request.



  RFP #6: As with the preceding request, the documents you are requesting in your letter are far outside the scope of
  what this request calls for. Again, we do not agree that Benedict or Edward Thompson’s tax records are responsive to
  this request. If you wanted those tax records, you certainly could have made a specific request for them. We do not
  think the tax records are relevant to the general question you ask in this request.




  Discovery Set #2 to Benedict Thompson

  Interrogatory #2: Benedict Thompson’s position is that his original answer to Interrogatory #2 is fully responsive and
  does not require supplementation. Your letter admits that this is a disputed fact. I have confirmed with our client
  that his answer is correct and includes all exchanges/wallets. This answer is fully responsive and not evasive. A
  factual dispute such as this is not an appropriate basis for a discovery dispute.



  Interrogatory #4: Benedict Thompson’s position is that his original answer to Interrogatory #4 is fully responsive and
  does not require supplementation. Your letter admits that this is a disputed fact. Our answer is fully responsive and
  not evasive. A factual dispute such as this is not an appropriate basis for a discovery dispute.




  RFA #1: Benedict Thompson’s position is that his original answer to RFA #1 is fully responsive and does not require
  supplementation. I have confirmed that his position is that he has never transacted with the wallets listed. Our
  answer is fully responsive.



  Discovery Set #3 to Benedict Thompson

  RFA #1: Your request incorrectly characterizes the contents on THOMPSON_000512 and therefore we maintain our
  denial. Your request wants an admission that Benedict Thompson has used the IP address 86.158.130.170, but that is
  not what is shown on THOMPSON_000512. The IP address referred to in THOMPSON_000512 is 86.158.130.107. The
  document THOMPSON_000512 speaks for itself, and we maintain our position that we will not admit to the
  mischaracterization of the contents of that document.



  Edward Thompson
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            "EXHIBIT E" - 3
  Discovery Set #1 to Edward Thompson

  RFA #3: First, allow me to correct several misstatements in your contentions with respect to this request. The
  document identified as THOMPSON_000052 does not “reference Edward Thompson’s ‘1N1 Wallet’” as you contend.
  That document merely states a wallet address, but it does not state anything about the ownership of the wallet
  associated with that address. Further, I carefully reviewed your Chainalysis Reactor Graph, and I can find no reference
  to the 1N1 Wallet in that graph, contrary to your contention otherwise. Edward Thompson does not recognize the
  1N1 Wallet as a wallet he has ever used and he does not recall the reason that that address is set forth, with no other
  information, in THOMPSON_000052. Edward Thompson’s position is that his original answer to RFA #3 is fully
  responsive and does not require supplementation.



  Discovery Set #2 to Edward Thompson

  Interrogatory #1: Edward Thompson’s position is that his original answer to Interrogatory #1 is fully responsive and
  does not require supplementation. I have confirmed with our client that his answer is correct and includes all
  exchanges/wallets. This answer is fully responsive and not evasive. A factual dispute such as this is not an
  appropriate basis for a discovery dispute.



  Interrogatory #2: Edward Thompson’s position is that his original answer to Interrogatory #2 is fully responsive and
  does not require supplementation. The documents you cited, THOMPSON_000302, THOMPSON_ 000297-298 and
  THOMPSON_000051, do not demonstrate sending or receiving cryptocurrency to or from Benedict Thompson.
  Edward Thompson gave Benedict permission to carry out cryptocurrency transactions on Edward’s behalf, and the
  emails you referenced discuss transactions Benedict was authorized to perform on behalf of Edward, not transactions
  between the two of them.



  Interrogatory #3: Edward Thompson’s position is that his original answer to Interrogatory #3 is fully responsive and
  does not require supplementation. Benedict Thompson never had access to the Trezor wallet owned by Edward
  Thompson. THOMPSON_000239, an email between Edward and Claire Thompson, certainly does not suggest that
  Benedict ever had access to the Trezor wallet. Further, for the other documents which you reference, we have already
  noted that these documents refer to transactions Benedict was authorized to perform on behalf of Edward, not
  transactions between the two of them.



  Discovery Set #3 to Edward Thompson

  RFA #3: Edward Thompson’s position is that his original answer to RFA #3 is fully responsive and does not require
  supplementation. The documents you cited, THOMPSON_000302, THOMPSON_ 000297-298 and
  THOMPSON_000051, discuss transactions Benedict was authorized to perform on behalf of Edward, not transactions
  between the two of them. These transactions were not initiated by Benedict they were simply completed by Benedict
  at Edward’s instruction.



  Thanks,
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             "EXHIBIT E" - 4

  Carl



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